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                         EXHIBIT 8
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                                       CASE NO.


            IN THE SUPREME COURT OF THE UNITED STATES


       IN RE: TIMOTHY KING, MARIAN ELLEN SHERIDAN, JOHN
      EARL HAGGARD, CHARLES JAMES RITCHARD, JAMES DAVID
                 HOOPER and DAREN WADE RUBINGH,

                                  Plaintiffs/Petitioners.


       PETITION FOR WRIT OF CERTIORARI PURSUANT TO 28
        U.S.C. § 1651(a), On Petition for a Writ of Certiorari to the
      United States Federal District Court for the Eastern District of
                                 Michigan


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 ISSUES PRESENTED

     I. THE TRIAL COURT ERRED WHEN IT DENIED THE
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 ORAL ARGUMENT FOR DECLARATORY, EMERGENCY, AND
 PERMANENT INJUNCTIVE RELIEF WHEN THE PETITIONERS HAD
 PRESENTED A PRIMA FACIE CASE SETTING FORTH CLAIMS OF
 WIDESPREAD VOTER IRREGULARITIES AND FRAUD IN THE STATE
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 AND ABSENTEE BALLOT. THE TRIAL COURT COMPLETELY AND
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 EXPERT OPINIONS, DIAGRAMS AND PHOTOS THAT SUPPORTED THE
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      A. WHETHER THE PETITIONERS HAVE PRESENTED
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 OF THE FOURTEENTH AMENDMENT DUE PROCESS CLAUSE AND A
 VIOLATION OF THE MICHIGAN ELECTION CODE?

     B. WHETHER THE PETITIONERS PRESENTED SUFFICIENT
 EVIDENCE WHICH WAS IGNORED BY THE DISTRICT TO WARRANT A
 PRELIMINARY INJUNCTION WHERE THE PROFFERED EVIDENCE
 ESTALBLISHED LIKEHOOD OF SUCCESS ON THE MERITS, THAT THE
 PETITIONERS WOULD SUFFER IRREPARABLE HARM IN THE
 ABSENCE OF PRELIMINARY RELIEF AND THAT THE BALANCE OF
 EQUITIES TIPS IN THIE FAVOR AND THAT AN INJUNCTION IS IN THE
 PUBLIC INTEREST?

     II. WHETHER THE DISTRICT COURT ERRED WHEN IT
 DISMISSED THE PETITIONERS EMERGENCY MOTION AND REQUEST
 FOR PRELIMINARY INJUNCTION WHEN THE COURT HELD THAT THE
 PETITIONERS STATE LAW CLAIMS AGAINST RESPONDENTS WERE
 BARRED BY ELEMENTH AMENDMENT IMMUNITY?

     III. WHETHER THE DISTRICT COURT ERREONEOUSLY HELD
 THAT THE PETITIONERS CLAIMS SEEKING A PRELIMINARY
 INJUNCTION WERE BARRED AS BEING MOOT WHEN THE
 ELECTORAL COLLEGE HAS YET TO CERTIFY THE NATIONAL
 ELECTION AND AS SUCH THE RELIEF REQUESTED IS TIMELY?



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 THAT THE PETITIONERS CLAIMS WERE BARRED BY THE DOCTRINE
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 AND THE RESPONDENTS ARE NOT PREJUDICIED BY ANY DELAYS IN
 THE FILING BY THE PETITIONERS?

     V. WHETHER THE DISTRICT COURT ERRED WHEN IT
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 DOCTRINE IDENTIFIED IN THE US SUPREME COURT CASE OF
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 DETERMINED THE PETITIONERS “ASSERT NO PARTICULARIZED
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 CLAUSE AND ELECTORS CLAUSE CLAIMS WHEN THE PETITIONERS
 ARE THE VERY INDIVIDUALS WHO CAN ASSERT THIS CLAIM AND
 HAVE PROPER STANDING TO DO SO?

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 PARTIES TO THE PROCEEDINGS AND STANDING

       All parties appear in the caption of the case on the cover page.

       Each of the following Plaintiffs/Petitioners are registered Michigan
 voters and nominees of the Republican Party to be a Presidential Elector on
 behalf of the State of Michigan: Timothy King, a resident of Washtenaw
 County, Michigan; Marian Ellen Sheridan, a resident of Oakland County,
 Michigan; and, John Earl Haggard, a resident of Charlevoix, Michigan;

        Each of these Plaintiffs/Petitioners has standing to bring this action as
 voters and as candidates for the office of Elector under MCL §§ 168.42 &
 168.43 (election procedures for Michigan electors).As such, Presidential
 Electors “have a cognizable interest in ensuring that the final vote tally
 reflects the legally valid votes cast,” as “[a]n inaccurate vote tally is a concrete
 and particularized injury to candidates such as the Electors.” Carson v.
 Simon, 978 F.3d 1051, 1057 (8th Cir. 2020) (affirming that Presidential
 Electors have Article III and prudential standing to challenge actions of
 Secretary of State in implementing or modifying State election laws); see also
 McPherson v. Blacker, 146 U.S. 1, 27 (1892); Bush v. Palm Beach Cty.
 Canvassing Bd., 531 U.S. 70, 76 (2000) (per curiam). Each brings this action
 to set aside and decertify the election results for the Office of President of the
 United States that was certified by the Michigan Secretary of State on
 November 23, 2020. The certified results showed a plurality of 154,188 votes
 in favor of former Vice-President Joe Biden over President Trump.

       Petitioner James Ritchard is a registered voter residing in Oceana
 County. He is the Republican Party Chairman of Oceana County. Petitioner
 James David Hooper is a registered voter residing in Wayne County. He is the
 Republican Party Chairman for the Wayne County Eleventh District.
 Petitioner Daren Wade Ribingh is a registered voter residing in Antrim
 County. He is the Republican Party Chairman of Antrim County.

        Respondent Gretchen Whitmer (Governor of Michigan) is named herein
 in her official capacity as Governor of the State of Michigan. Respondent
 Jocelyn Benson (“Secretary Benson”) is named as a defendant/respondent in
 her official capacity as Michigan’s Secretary of State. Jocelyn Benson is the
 “chief elections officer” responsible for overseeing the conduct of Michigan
 elections. Respondent Michigan Board of State Canvassers is “responsible for
 approv[ing] voting equipment for use in the state, certify[ing] the result of
 elections held statewide….” Michigan Election Officials’ Manual, p. 4. See also
 MCL 168.841, etseq. On March 23, 2020, the Board of State Canvassers
 certified the results of the 2020 election finding that Joe Biden had received
 154,188 more votes than President Donald Trump.
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  CORPORATE DISCLOSURE STATEMENT

  Pursuant to Supreme Court Rule 29.6, the Petitioners herein disclose the
  following: There is no parent or publicly held company owning 10% or
  more of Respondent’s stock or corporate interest.
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        INTRODUCTION


        Petitioners file this motion seeking immediate relief in
  anticipation of their petition for certiorari from the judgment of the
  District Court dated December 7, 2020, dismissing their case after
  denying their motion for a Temporary Restraining Order. (R.62).
  Petitioners filed a notice of appeal to the Sixth Circuit on December 8,
  2020. (R.64). Because of the exigencies of time, they have not presented
  their case to the Sixth Circuit but, rather, will seek certiorari before
  judgment in the court of appeals pursuant to S. Ct. R. 11. This motion
  for immediate preliminary relief seeks to maintain the status quo so
  that the passage of time and the actions of Respondents do not render
  the case moot, depriving this Court of the opportunity to resolve the
  weighty issues presented herein and Respondents of any possibility of
  obtaining meaningful relief.


        Petitioners seek review of the district court’s order denying any
  meaningful consideration of credible allegations of massive election
  fraud, multiple violations of the Michigan Election Code, see, e.g., MCL §§
  168.730-738 and Equal Protection Clause of the U.S. Constitution that
  occurred during the 2020 General Election throughout the State of
  Michigan. Petitioners presented substantial evidence consisting of sworn
  declarations of dozens of eyewitnesses and of experts identifying
  statistical anomalies and mathematical impossibilities, as well as a
  multistate, conspiracy, facilitated by foreign actors, including China and
  Iran, designed to deprive Petitioners to their rights to a fair and lawful
  election. The district court ignored it all. It failed to hear from a single
  witness or consider any expert and made findings without any
  examination of the record.
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        The scheme and artifice to defraud illegally and fraudulently
  manipulate the vote count to manufacture the “election” of Joe Biden as
  President of the United States. The fraud was executed by many means,
  but the most fundamentally troubling, insidious, and egregious ploy was
  the systemic adaptation of old-fashioned “ballot-stuffing.” It has now
  been amplified and rendered virtually invisible by computer software
  created and run the vote tabulation by domestic and foreign actors for
  that very purpose. The petition detailed an especially egregious range of
  conduct in Wayne County and the City of Detroit, though this conduct
  occurred throughout the State with the cooperation and control of
  Michigan state election officials, including Respondents.


        The multifaceted schemes and artifices to defraud implemented
  by Respondents and their collaborators resulted in the unlawful
  counting, or outright manufacturing, of hundreds of thousands of illegal,
  ineligible, duplicate, or purely fictitious ballots in Michigan. The same
  pattern of election fraud and vote-counting fraud writ large occurred in
  all the swing states with only minor variations in Michigan,
  Pennsylvania, Arizona, and Wisconsin. See Ex. 101, William M. Briggs,
  Ph.D. “An Analysis Regarding Absentee Ballots Across Several States”
  (Nov. 23, 2020) (“Dr. Briggs Report”). Unlike some other petitions
  currently pending, this case presented an enormous amount of
  evidence in sworn statements and expert reports. According to the
  final certified tally in Michigan, Mr. Biden had a slim margin of
  146,000 votes.


        The election software and hardware from Dominion Voting
  Systems (“Dominion”) used by the Michigan Board of State Canvassers
  was created to achieve election fraud. See Ex. 1, Redacted Declaration of
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  Dominion Venezuela Whistleblower (“Dominion Whistleblower Report”).
  The Dominion systems derive from the software designed by Smartmatic
  Corporation, which became Sequoia in the United States.


        The trial court did not examine or even comment on Petitioners’
  expert witnesses, including Russell James Ramsland, Jr. (Ex. 101,
  “Ramsland Affidavit”), who testified that Dominion alone is responsible
  for the injection, or fabrication, of 289,866 illegal votes in Michigan. This
  is almost twice the number of Mr. Biden’s purported lead in the
  Michigan vote (without consideration of the additional illegal, ineligible,
  duplicate or fictitious votes due to the unlawful conduct outlined below).
  This, by itself, requires that the district court grant the declaratory and
  injunctive relief Petitioners sought. Andrew W. Appel, et al., “Ballot
  Marking Devices (BMDs) Cannot Assure the Will of the Voters” at (Dec.
  27, 2019), attached hereto as Exhibit 2 (“Appel Study”).


        In addition to the Dominion computer fraud, Petitioners identified
  multiple means of “traditional” voting fraud and Michigan Election Code
  violations, supplemented by harassment, intimidation, discrimination,
  abuse, and even physical removal of Republican poll challengers to
  eliminate any semblance of transparency, objectivity, or fairness from
  the vote counting process. Systematic violations of the Michigan Election
  Code cast significant doubt on the results of the election and call for this
  Court to set aside the 2020 Michigan General Election and grant the
  declaratory and injunctive relief requested herein. King Et al vs.
  Whitmer Et al, No. 20-cv-13134, Eastern District of Michigan, Exhibits
  1-43, PgID 958-1831.



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                              OPINION BELOW


         Judge Linda Parker, in the Eastern District of Michigan, without
  an evidentiary hearing or even oral argument, denied Petitioners
  “Emergency Motion for Declaratory, Emergency, and Permanent
  Injunctive Relief.” The court held the Eleventh Amendment bars
  Petitioners claims against Respondents (R, 62, PgID, 3307); Petitioners
  claims for relief concerning the 2020 General Election were moot (R, 62,
  PgID, 3310); Petitioners claims were barred by laches as a result of
  “delay” (R,62, PgID, 3313); and abstention is appropriate under the
  Colorado River doctrine; (R, 62, PgID 3317). The Court further held
  that petitioners lacked standing. (R, 62, PgID 3324).


        The Court stated, “it appears that Petitioners’ claims are in fact
  state law claims disguised as federal claims” (R, 62, PgID 3324) and held
  there was no established equal protection claim (R, 62, PgID 3324). The
  Court declined to discuss the remaining preliminary injunction factors
  extensively. (R, 62, PgID, 3329). Opinion and Order Attached Denying
  Petitioner’s’ Emergency Motion for Declaratory, Emergency, and
  Permanent Injunctive Relief. (R. 62).


                               JURISDICTION


        The district Court had subject matter over these federal questions
  under 28 U.S.C. § 1331 because it presents numerous claims based on
  federal law and the U.S. Constitution. The district court also has subject
  matter jurisdiction under 28 U.S.C. § 1343 because this action involves a
  federal election for President of the United States. “A significant
  departure from the legislative scheme for appointing Presidential

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  electors presents a federal constitutional question.” Bush v. Gore, 531
  U.S. 98, 113 (2000) (Rehnquist, C.J., concurring); Smiley v. Holm, 285
  U.S. 355, 365(1932).


        The district court had authority to grant declaratory relief under
  28 U.S.C. §§ 2201and 2202 and by Fed. R. Civ. P. 5 7 . The district
  court had supplemental jurisdiction over the related Michigan
  constitutional claims and state-law claims under 28 U.S.C.§ 1367.


        This Court has jurisdiction under 28 USC § 1254(1) because the
  case is in the Court of Appeals for the Sixth Circuit and petitioners
  are parties in the case. This Court should grant certiorari before
  judgment in the Court of Appeals pursuant to Supreme Court Rule
  11 because “the case is of such imperative public importance as to
  justify deviation from normal appellate practice and to require
  immediate determination in this Court.” The United States
  Constitution reserves for state legislatures the power to set the time,
  place, and manner of holding elections for Congress and the President,
  state executive officers, including but not limited to Secretary
  Benson, have no authority to unilaterally exercise that power, much
  less flout existing legislation. Moreover, Petitioners Timothy King,
  Marian Ellen Sheridan, John Earl Haggard, Charles James Ritchard,
  James David Hooper, and Daren Wade Rubingh, are candidates for
  the office of Presidential Electors who have a direct and personal
  stake in the outcome of the election and are therefore entitled to
  challenge the manner in which the election was conducted and the
  votes tabulated under the authority of this Court’s decision in Bush v.
  Gore, 531 U.S. 98 (2000).


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        Additionally, this Court has jurisdiction pursuant to the All Writs
  Act, 28 U.S.C. § 1651(a) and United States Supreme Court Rule 20,
  Procedure on a Petition for an Extraordinary Writ. Petitioners will
  suffer irreparable harm if they do not obtain immediate relief. The
  Electors are set to vote on December 14, 2020. The issues raised are
  weighty as they call into question who is the legitimate winner of the
  2020 presidential election. These exceptional circumstances warrant the
  exercise of the Court’s discretionary powers, particularly as this case
  will supplement the Court’s understanding of a related pending case,
  State of Texas v. Commonwealth of Pennsylvania et al, S.Ct. Case No.
  220155.


        The All Writs Act authorizes an individual Justice or the full Court
  to issue an injunction when (1) the circumstances presented are “critical
  and exigent”; (2) the legal rights at issue are “indisputably clear”; and
  (3) injunctive relief is “necessary or appropriate in aid of the Court’s
  jurisdiction.” Ohio Citizens for Responsible Energy, Inc. v. NRC, 479 U.S.
  1312 (1986) (Scalia, J., in chambers) (citations and alterations omitted).


        A submission directly to this Court for a Writ of Certiorari, a
  Stay of Proceeding and a Preliminary Injunction is an extraordinary
  request, but it has its foundation. While such relief is rare, this Court
  will grant it “where a question of public importance is involved, or
  where the question is of such a nature that it is peculiarly
  appropriate that such action by this Court should be taken.” Ex Parte
  Peru, 318 U.S. 578, 585 (1943). See also Cheney v. U.S. Dist. Court,
  542 U.S. 367, 380–81 (2004).



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        Here, Petitioners and the public will suffer irreparable harm if this
  Court does not act without delay. Once the electoral votes are cast,
  subsequent relief would be pointless. In Federal Trade Commission v.
  Dean Foods Co., 384 U.S. 597 (1966), the Court affirmed the Seventh
  Circuit, finding authority under 28 U.S.C. § 1651(a) to enjoin merger
  violating Clayton Act, where the statute itself was silent on whether
  injunctive relief was available regarding an application by the FTC.
  “These decisions furnish ample precedent to support jurisdiction of the
  Court of Appeals to issue a preliminary injunction preventing the
  consummation of this agreement upon a showing that an effective
  remedial order, once the merger was implemented, would otherwise be
  virtually impossible, thus rendering the enforcement of any final decree
  of divestiture futile.” Id. at 1743. This Court rendered a similar decision in
  Roche v. Evaporated Milk Assn, 319 U.S. 21 (1943), granting a writ of
  mandamus, even though there was no appealable order and no
  appeal had been perfected because "[o]therwise the appellate
  jurisdiction could be defeated and the purpose of the statute
  authorizing the writ thwarted by unauthorized action of the district
  court obstructing the appeal.”




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        CONSTITUTIONAL AND STATUTORY PROVISIONS
        The Fourteenth Amendment of the United States Constitution
  provides “nor shall any state deprive any person of life, liberty, or
  property, without due process of law; nor deny to any person within its
  jurisdiction the equal protection of the laws.”


        The Electors Clause states that “[e]ach State shall appoint, in
  such Manner as the Legislature thereof may direct, a Number of
  Electors” for president. U.S. Const. art. II, §1, cl. 2.


        The Elections Clause states: “The Times, Places and Manner of
  holding Elections for Senators and Representatives, shall be
  prescribed in each State by the Legislature thereof; but the Congress
  may at any time by Law make or alter such Regulations, except as to
  the Places of chusing Senators.” U.S. Const. art. I, §4, cl. 1.


        The Constitution of Michigan, Article II, § 4, clause 1(h) states:
  “The right to have the results of statewide elections audited, in such
  a manner as prescribed by law, to ensure the accuracy and integrity
  of elections. All rights set forth in this subsection shall be self-
  executing. This subsection shall be liberally construed in favor of
  voters' rights in order to effectuate its purposes.”


         The Michigan Election Code provides voting procedures and rules
  for the State of Michigan. M.C.L. § 168.730, designation, qualifications,
  and number of challengers, M.C.L. § 168.733,challengers, space in
  polling place, rights, space at counting board, expulsion for cause,
  protection, threat or intimidation, MCL § 168.31(1)(a) Secretary of state,
  duties as to elections, rule MCL 168.765a absent voter counting board.
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        STATEMENT OF THE CASE


        Petitioners brought this case to vindicate their constitutional
  right to a free and fair election ensuring the accuracy and integrity of
  the process pursuant to the Michigan Constitution, art. 2, sec. 4, par.
  1(h), which states all Michigan citizens have: “The right to have the
  results of statewide elections audited, in such a manner as prescribed
  by law, to ensure the accuracy and integrity of elections.”


        The Mich. Const., art.2, sec.4, par. 1(h) further states, “All rights
  set forth in this subsection shall be self-executing. This subsection shall
  be liberally construed in favor of voters' rights in order to effectuate its
  purposes.”


        These state-law procedures, in turn, implicate Petitioners’
  rights under federal law and the U.S. Constitution. “When the state
  legislature vests the right to vote for President in its people, the right
  to vote as the legislature has prescribed is fundamental; and one
  source of its fundamental nature lies in the equal weight accorded to
  each vote and the equal dignity owed to each voter.” Bush v. Gore,
  531 U.S. at 104.      "[I]n the context of a Presidential election, state-
  imposed restrictions implicate a uniquely important national
  interest. For the President and the Vice President of the United
  States are the only elected officials who represent all the voters in
  the Nation." Anderson v. Celebrezze, 460 U.S. 780, 794-795 (1983)
  (footnote omitted).




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           Based upon all the allegations of fraud, statutory violations, and
      other misconduct, as stated herein and in the attached affidavits, this
      Court should exercise its authority to issue the writ of certiorari and
      stay the vote for the Electors in Michigan.


           Fact Witness Testimony of Voting Fraud & Other Illegal Conduct


           Respondents and their collaborators have executed a
      multifaceted scheme to defraud Michigan voters, resulting in the
      unlawful counting of hundreds of thousands of illegal, ineligible,
      duplicate or purely fictitious ballots in the State of Michigan.
      Evidence included in Respondents’ complaint and reflected in Section
      IV herein shows with specificity the minimum number of ballots that
      should be discounted, which is more than sufficient to overturn and
      reverse the certified election results. This evidence, provided in the
      form of dozens of affidavits and reports from fact and expert
      witnesses, further shows that the entire process in Michigan was so
      riddled with fraud and illegality that certified results cannot be relied
      upon for any purpose by anyone involved in the electoral system.
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           There were three broad categories of illegal conduct by election
      workers in collaboration with other state, county and/or city employees
      and Democratic poll watchers and activists.


           First, election workers illegally forged, added, removed or
      otherwise altered information on ballots, the Qualified Voter File (QVF)
      and Other Voting Records, including:




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            A.     Fraudulently adding “tens of thousands” of new ballots and/or
      new voters to QVF in two separate batches on November 4, 2020, all or
      nearly all of which were votes for Joe Biden.
            B.     Forging voter information and fraudulently adding new voters
      to the QVF Voters, in particular, e.g., when a voter’s name could not be
      found, the election worker assigned the ballot to a random name already
      in the QVF to a person who had not voted and recorded these new voters
      as having a birthdate of 1/1/1900.
            C.     Changing dates on absentee ballots received after the 8:00
      PM Election Day deadline to indicate that such ballots were received
      before the deadline.
            D.     Changing votes for Trump and other Republican candidates.
            E.    Adding votes to “undervote” ballots and removing votes from
      “overvote” ballots.1


            Second, to facilitate and cover up the voting fraud and counting of
      fraudulent, illegal or ineligible voters, election workers:


            $    Denied Republican election challengers’ access to the
      TCF Center, where all Wayne County, Michigan ballots were
      processed and counted.
            %    Denied Republic poll watchers at the TCF Center meaningful
      access to view ballot handling, processing, or counting, and locked
      credentialed challengers out of the counting room so they could not
      observe the process, during which time tens of thousands of ballots were
      processed.

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        &   Engaged in a systematic pattern of harassment, intimidation
  and even physical removal of Republican election challengers or locking
  them out of the TCF Center.
        '   Systematically discriminated against Republican poll
  watchers and favored Democratic poll watchers.
        (   Ignored or refused to record Republican challenges to the
  violations outlined herein.
        )   Refused to permit Republican poll challengers to observe
  ballot duplication and other instances where they allowed ballots to be
  duplicated by hand without allowing poll challengers to check if the
  duplication was accurate.
        *   Unlawfully coached voters to vote for Joe Biden and to vote a
  straight Democrat ballot, including by going over to the voting booths
  with voters in order to watch them vote and coach them for whom to
  vote. As a result, Democratic election challengers outnumbered
  Republicans by 2:1 or 3:1 (or sometimes 2:0 at voting machines).
        +   Collaborated with Michigan State, Wayne County and/or
  City of Detroit employees (including police) in all of the above unlawful
  and discriminatory behavior.


        Third, election workers in some counties committed several
  additional categories of violations of the Michigan Election Code to
  enable them to accept and count other illegal, ineligible or duplicate
  ballots, or reject Trump or Republican ballots, including:


        A.   Permitting illegal double voting by persons that had voted by
  absentee ballot and in person.
        B.   Counting ineligible ballots – and in many cases – multiple
  times.
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        C.   Counting ballots without signatures, or without
  attempting to match signatures, and ballots without postmarks,
  pursuant to direct instructions from Respondents.
        D.   Counting “spoiled” ballots.
        E.   Systematically violating of ballot secrecy requirements.
        F.   Counted unsecured ballots that arrived at the TCF Center
  loading garage, not in sealed ballot boxes, without any chain of
  custody, and without envelopes, after the 8:00 PM Election Day
  deadline, in particular, tens of thousands of ballots that arrived on
  November 4, 2020.
        G.   Accepting and counting ballots from deceased voters.


        Expert Witness Testimony Regarding Voting Fraud
        In addition to the above fact witnesses, this Complaint
  presented expert witness testimony demonstrating that several
  hundred thousand illegal, ineligible, duplicate or purely fictitious votes
  must be thrown out, in particular:


        (1) A report from Russel Ramsland, Jr. showing the “physical
  impossibility” of nearly 385,000 votes tabulated by four precincts on
  November 4, 2020 in two hours and thirty-eight minutes, that derived
  from the processing of nearly 290,000 more ballots than available
  machine counting capacity (which is based on statistical analysis that is
  independent of his analysis of Dominion’s flaws).


         (2) A report from Dr. William Briggs, showing that there were
  approximately 60,000 absentee ballots listed as “unreturned” by voters
  that either never requested them, or that requested and returned their
  ballots.

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        (3) A report from Dr. Eric Quinell analyzing the anomalous
  turnout figures in Wayne and Oakland Counties showing that Biden
  gained nearly 100%, and frequently more than 100%, of all “new” voters
  in certain townships/precincts over 2016, and thus indicated that nearly
  87,000 anomalous and likely fraudulent votes were accepted and
  tabulated from these precincts.


        Foreign actors interfered in this election. As explained in the
  accompanying redacted declaration of a former electronic intelligence
  analyst who served in the 305th Military Intelligence Unit with
  experience gathering SAM missile system electronic intelligence, the
  Dominion software was accessed by agents acting on behalf of China and
  Iran in order to monitor and manipulate elections, including the most
  recent U.S. general election in 2020. This Declaration further includes a
  copy of the patent records for Dominion Systems in which Eric Coomer,
  Dominion’s security director, is listed as the first of the inventors of
  Dominion Voting Systems. (See Attached hereto as Ex. 105, copy of
  redacted witness affidavit, November 23, 2020).


        Another expert explains that U.S. intelligence services had
  developed tools to infiltrate foreign voting systems, including Dominion.
  He states that Dominion's software is vulnerable to data manipulation
  by unauthorized means and permitted election data to be altered in all
  battleground states. He concludes that hundreds of thousands of votes
  that were cast for President Trump in the 2020 general election were
  probably transferred to former Vice-President Biden. (Ex. 109).




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        These and other irregularities provide substantial grounds for this
  Court to stay or set aside the results of the 2020 General Election in
  Michigan and provide the other declaratory and injunctive relief
  requested herein.


        Irreparable harm will inevitably result for both the public and the
  Petitioners if the Petitioners were required to delay this Court’s review
  by first seeking relief in the United States Court of Appeals, Sixth
  Circuit. Once the electoral votes are cast, subsequent relief would be
  pointless and the petition would be moot. As such, petitioners are
  requesting this Honorable Court grant the petition under the most
  extraordinary of circumstances. A request which, although rare, is not
  without precedent.


         Similar relief was granted in FTC v. Dean Foods Co., 86 S.Ct.
  1738 (1966) affirming the Seventh Circuit, involving an application by
  the FTC and a holding by this Court that found authority under 28
  U.S.C. § 1651(a) to enjoin merger violating Clayton Act, where statute
  itself was silent on whether injunctive relief was available. “These
  decisions furnish ample precedent to support jurisdiction of the Court of
  Appeals to issue a preliminary injunction preventing the consummation
  of this agreement upon a showing that an effective remedial order, once
  the merger was implemented, would otherwise be virtually impossible,
  thus rendering the enforcement of any final decree of divestiture futile.”
  Id. at 1743. A similar decision was reached in In Roche Evaporated Milk
  Ass’n, 63 S.Ct. 938, 941 (1943), the Supreme Court granted a writ of
  mandamus where there was no appealable order or where no appeal
  had been perfected because "[o]therwise the appellate jurisdiction could
  be defeated and the purpose of the statute authorizing the writ
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  thwarted by unauthorized action of the district court obstructing the
  appeal.”
         For these reasons, this Honorable Court should exercise its authority
  to review this pending application, to stay the Electoral College Vote
  pending disposition of the forthcoming petition for writ of certiorari and to
  allow Petitioners a full and fair opportunity to be heard.


        ARGUMENT


        I. THE TRIAL COURT ERRED WHEN IT DENIED THE
       PETITIONERS’ EMERGENCY MOTION BECAUSE
       PETITIONERS PRESENTED A PRIMA FACIE CASE OF
       WIDESPREAD VOTER IRREGULARITIES AND FRAUD IN
       THE STATE OF MICHIGAN IN THE PROCESSING AND
       TABULATION OF POLLING-PLACE VOTES AND ABSENTEE
       BALLOTS.

         The record includes overwhelming evidence of widespread
  systemic election fraud and numerous serious irregularities and
  mathematical impossibilities not only in the state of Michigan but
  numerous states utilizing the Dominion system. Sworn witness
  testimony of “Spider”, a former member of the 305th Military
  Intelligence Unit, explains how Dominion was compromised and
  infiltrated by agents of hostile nations China and Iran, among others.
  (R. 49, PgID, 3074). Moreover, expert Russell Ramsland testified that
  289,866 ballots must be disregarded as a result of voting machines
  counting 384,733 votes in two hours and thirty-eight minutes when the
  actual, available voting machinery was incapable of counting more than
  94,867 votes in that time frame. (R. 49, PgID, 3074). According to the
  final certified tally in Michigan, Mr. Biden has a slim margin of 146,000
  votes over President Trump.

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        In the United States, voting is a sacrament without which this
  Republic cannot survive. Election integrity and faith in the voting
  system distinguishes the United States from failed or corrupt nations
  around the world. Our very freedom and all that Americans hold dear
  depends on the sanctity of our votes.


         Judge Parker issued a Notice of Determination of Motion
  without Oral Argument (R. 61, PgID, 3294) on this most sensitive and
  important matter. She ignored voluminous evidence presented by
  Petitioners proving widespread voter fraud, impossibilities, and
  irregularities that undermines public confidence in our election
  system and leaves Americans with no reason to believe their votes
  counted. It the face of all Petitioners’ evidence, it cannot be said that
  the vote tally from Michigan reflects the will of the people. From
  abuses of absentee ballots, fraudulent ballots, manufactured ballots,
  flipped votes, trashed votes, and injected votes, not to mention the
  Dominion algorithm that shaved votes by a more than 2% margin
  from Trump and awarded them to Biden, the Michigan results must
  be decertified, the process of seating electors stayed, and such other
  and further relief as the Court finds is in the public interest, or the
  Petitioners show they are entitled.


      A. PETITIONERS PRESENTED SUFFICIENT EVIDENCE,
  WHICH WAS IGNORED BY THE DISTRICT COURT, TO
  WARRANT A PRELIMINARY INJUNCTION WHERE THE
  PROFFERED EVIDENCE ESTABLISHED A LIKELIHOOD OF
  SUCCESS ON THE MERITS, THAT PETITIONERS WOULD
  SUFFER IRREPARABLE HARM IN THE ABSENCE OF
  INTERLOCUTORY RELIEF, THAT THE BALANCE OF EQUITIES
  TIPS IN THIER FAVOR AND THAT AN INJUNCTION IS IN THE
  PUBLIC INTEREST.

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        Respondents have submitted a number of affidavits, consisting
  mostly of recycled testimony from ongoing State proceedings, that
  purport to rebut Plaintiffs’ fact witnesses all of which boil down to: (1)
  they did not see what they thought they saw; (2) maybe they did see
  what they thought they saw, but it was legal on the authority of the very
  government officials engaged in or overseeing the unlawful conduct; (3)
  the illegal conduct described could not have occurred because it is
  illegal; and/or (4) even if it happened, those were independent criminal
  acts by public employees over whom State Respondents had no control.
        Below are a few examples of State Defendant affiants’ non-
  responsive responses, evasions and circular reasoning, followed by
  Plaintiff testimony and evidence that remains unrebutted by their
  testimony.
      Illegal or Double Counted Absentee Ballots. Affiant Brater
        asserts that Plaintiffs’ allegation regarding illegal vote counting
        can be “cursorily dismissed by a review of election data,” and
        asserts that if illegal votes were counted, there would be
        discrepancies in between the numbers of votes and numbers in poll
        books. ECF No. 31-3 ¶19. Similarly, Christopher Thomas, asserts
        that ballots could not, as Plaintiffs allege, see FAC, Carrone Aff.,
        have been counted multiple times because “a mistake like that
        would be caught very quickly on site,” or later by the Wayne
        County Canvassing Board. ECF No. 39-6 ¶6. Mr. Brater and Mr.
        Thomas fail to acknowledge that is precisely what happened: The
        Wayne County Canvassing Board found that over 70% of Detroit
        Absentee Voting Board (“AVCB”) were unbalanced, and that two
        members of Wayne County Board of Canvassers initially refused to
        certify results and conditioned certification on a manual recount
        and answers to questions such as “[w]hy the pollbooks, Qualified
        Voter Files, and final tallies do not match or balance.” FAC ¶¶105-
        107 & Ex. 11-12 (Affidavits of Wayne County Board of Canvasser
        Chairperson Monica Palmer and Member William C. Hartmann).
        Further, Plaintiffs’ affiants testified to observing poll workers
        assigning ballots to different voters than the one named on the
        ballot. FAC ¶86 & Larsen Aff. Defendants do not address this
        allegation, leaving it un-rebutted.
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      Illegal Conduct Was Impossible Because It Was Illegal. Mr.
        Thomas wins the Begging the Question prize in this round for
        circular reasoning that “[i]t would have been impossible for any
        election worker at the TCF Center to count or process a ballot for
        someone who was not an eligible voter or whose ballot was not
        received by the 8:00 p.m. deadline on November,” and “no ballot
        could have been backdated,” because no ballots received after the
        deadline “were ever at the TCF Center,” nor could the ballot of an
        ineligible voter been “brought to the TCF Center.” ECF No. 39-5
        ¶20; id. ¶27. That is because it would have been illegal, you
        understand. The City of Detroit’s absentee voter ballot quality
        control was so airtight and foolproof that only 70% of their
        precincts were unbalanced for 2020 General Election, which
        exceeded the standards for excellence established in the August
        2020 primary where 72% of AVCB were unbalanced. FAC Ex. 11
        ¶¶7&14.


        State Respondents Affiants did not, however, dismiss all of
  Plaintiff Affiants’ claims. Rather, they made key admissions that the
  conduct alleged did in fact occur, while baldly asserting, without
  evidence, that this conduct was legal and consistent with Michigan law.
  Defendants admitted that:


     Election Workers at TCF Center Did Not Match Signatures for
  Absentee Ballots.

    Election Workers Used Fictional Birthdates for Absentee Voters.
  ECF No. 39- 5 ¶15. The software made them do it.

        Election Workers Altered Dates for Absentee Ballot Envelopes. Mr.
  Thomas does not dispute Affiant Jacob’s testimony that “she was
  instructed by her supervisor to adjust the mailing date of absentee
  ballot packages” sent to voters, but asserts this was legal because “[t]he
  mailing date recorded for absentee ballot packages would have no
  impact on the rights of the voters and no effect on the processing and
  counting of absentee votes.” This is not a factual assertion but a legal
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  conclusion—and wrong to boot. Michigan law the Michigan Constitution
  provides all registered voters the right to request and vote by an absentee
  ballot without giving a reason. MICH. &2167DUWM.C.L. § 168.759(3).
  That statute limits the procedures for requesting an absentee ballot to
  three specified ways: $QDSSOLFDWLRQIRUDQDEVHQWYRWHUEDOORWXQGHUWKLV
  VHFWLRQPD\EHPDGHLQDQ\RIWKHIROORZLQJZD\V%\DZULWWHQUHTXHVWVLJQHG
  E\WKHYRWHURQDQDEVHQWYRWHUEDOORWDSSOLFDWLRQIRUPSURYLGHGIRUWKDWSXUSRVH
  E\WKHFOHUNRIWKHFLW\RUWRZQVKLS2URQDIHGHUDOSRVWFDUGDSSOLFDWLRQM.C.L.
  168.759(3) (emphasis added). The Michigan Legislature thus did not
  include the Secretary of State as a means for distributing absentee ballot
  applications. Id. § 168.759(3)(b). Under the statute’s plain language, the
  Legislature explicitly gave only local clerks the power to distribute absentee
  voter ballot applications. Id. Secretary Benson lacked authority to distribute
  even a single absentee voter ballot application—much less the millions of
  absentee ballot applications Secretary Benson chose to flood across
  Michigan.
        Secretary Benson also violated Michigan law when she launched a
  program in June 2020 allowing absentee ballots to be requested online,
  without signature verification as expressly required under Michigan law.
  The Michigan Legislature did not approve or authorize Secretary Benson’s
  unilateral actions. MCL § 168.759(4) states in relevant part: “An applicant
  for an absent voter ballot shall sign the application. Subject to section
  761(2), a clerk or assistant clerk shall not deliver an absent voter ballot to
  an applicant who does not sign the application.” MCL § 168.761(2), in turn,
  states: “The qualified voter file must be used to determine the genuineness
  of a signature on an application for an absent voter ballot. Signature
  comparisons must be made with the digitized signature in the qualified
  voter file.” Nowhere does Michigan Law authorize counting of an absent
  voter’s ballot without verifying the voter’s signature.

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           II. THE DISTRICT COURT ERRED WHEN IT DISMISSED
           PETITIONERS’ EMERGENCY MOTION AND REQUEST FOR
           PRELIMINARY INJUNCTION BY HOLDING THAT THE
           PETITIONERS STATE-LAW CLAIMS AGAINST RESPONDENTS
           WERE BARRED BY ELEVENTH AMENDMENT IMMUNITY.
  
  
           The Sixth Circuit recently addressed the scope of Eleventh
      Amendment sovereign immunity in the election context in Russell v.
      Lundergan-Grimes, 784 F.3d 1037, 1045 (6th Cir. 2015). In Russell, the
      appellate court held that federal courts do in fact have the power to
      provide injunctive relief where the defendants, “The Secretary of State
      and members of the State Board of Elections,” were, like State
      Respondents in this case, “empowered with expansive authority to
      "administer the election laws of the state.” Russell, 784 F.3d at 1047
      (internal quotations omitted).


                      The appellate court held that the Eleventh
                Amendment does not bar“[e]njoining a statewide official
                under Young based on his obligation to enforce a law is
                appropriate” where the injunctive relief requested sought
                to enjoin actions (namely, prosecution) that was within
                the scope of the official’s statutory authority.” Id.


      This is precisely what the Petitioners request in the Amended
      Complaint, namely, equitable and injunctive relief “enjoining Secretary
      [of State] Benson and Governor Whitmer from transmitting the
      currently certified election results to the Electoral College.” (See ECF
      No. 6 ¶1). Under Russell, the Eleventh Amendment is no bar to this
      Court granting the requested relief. (R. 49, PgID 3083).




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      III. THE DISTRICT COURT ERREONEOUSLY HELD THAT
  THE PETITIONERS CLAIMS SEEKING A PRELIMINARY
  INJUNCTION WERE MOOT WHEN THE ELECTORAL COLLEGE
  HAS YET TO CERTIFY THE NATIONAL ELECTION AND AS SUCH
  THE RELIEF REQUESTED IS TIMELY.

        This Court can grant the primary relief requested by Petitioners –
  de- certification of Michigan’s election results and an injunction
  prohibiting State Respondents from transmitting the certified results –
  as discussed below in Section I.E. on abstention. There is also no
  question that this Court can order other types of declaratory and
  injunctive relief requested by Petitioners – in particular, impounding
  Dominion voting machines and software for inspection – nor have State
  Respondents claimed otherwise. (R. 49, PgID 3082). The District Court
  erroneously held that the Petitioners claims seeking a preliminary
  injunction were barred as being moot when the Electoral College has yet
  to certify the national election and as such the relief is timely.


     IV. THE DISTRICT COURT ERRED WHEN IT HELD THAT
  THE PETITIONERS’ CLAIMS WERE BARRED BY LACHES WHEN
  THE CLAIMS WERE IN FACT TIMELY MADE AND ADDRESS
  HARM THAT IS CONTINUING AND FORTHCOMING, AND THE
  RESPONDENTS ARE NOT PREJUDICIED BY ANY DELAYS IN
  THE FILING BY THE PETITIONERS.


        Laches consists of two elements, neither of which are met here: (1)
  unreasonable delay in asserting one's rights; and (2) a resulting
  prejudice to the defending party. Meade v. Pension Appeals and Review
  Committee, 966 F.2d 190, 195 (6th Cir. 1992). The bar is even higher in
  the voting rights or election context, where Respondents asserting the
  equitable defense must show that the delay was due to a “deliberate”
  choice to bypass judicial remedies and they must do so “by clear and

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  convincing" evidence. Toney v. White, 488 F.2d 310, 315 (5th Cir. 1973).
  Petitioners’ “delay” in filing is a direct result of Respondents failure to
  complete counting until November 17, 2020. Further, Petitioners’ filed
  their initial complaint on November 25, 2020, two days after the
  Michigan Board of State Canvassers certified the election on November
  23, 2020. (R. 49, PgID 3082).


        Additionally, the “delay” in filing after Election Day is almost
  entirely due to Respondents failure to promptly complete counting until
  weeks after November 3, 2020. Michigan county boards did not complete
  counting until November 17, 2020, and Defendant Michigan Board of
  State Canvassers did not do so until November 23, 2020, ECF No. 31 at
  4—a mere two days before Petitioners filed their initial complaint on
  November 25, 2020. Petitioners admittedly would have preferred to file
  sooner, but needed time to gather statements from dozens of fact
  witnesses, retain and engage expert witnesses, and gather other data
  supporting their Complaint, and this additional time was once again a
  function of the sheer volume of evidence of illegal conduct by
  Respondents and their collaborators. Respondents cannot now assert the
  equitable defense of laches, when any prejudice they may suffer is
  entirely a result of their own actions and misconduct.


        Moreover, much of the misconduct identified in the Complaint was
  not apparent on Election Day, as the evidence of voting irregularities
  was not discoverable until weeks after the election. William Hartman
  explains in a sworn statement dated November 18, 2020, that “on
  November 17th there was a meeting of the Board of Canvassers to
  determine whether to certify the results of Wayne County” and he had
  “determined that approximately 71% of Detroit’s 134 Absentee Voter
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  Counting Boards were left unbalanced and unexplained.” He and
  Michele Palmer voted not to Certify and only later agreed to certify after
  a representation of a full audit, but then reversed when they learned
  there would be no audit. (See ECF No. 6, Ex. 11 &12.) Further, filing a
  lawsuit while Wayne County was still deliberating whether or not to
  certify, despite the demonstrated irregularities, would have been
  premature. Respondents appropriately exhausted their non-judicial
  remedies by awaiting the decision of the administrative body charged
  with determining whether the vote count was valid. Id.


        It is also disingenuous to try to bottle this slowly counted election
  into a single day when in fact waiting for late arriving mail ballots and
  counting mail ballots persisted long after “Election Day.”

      ,,, THE DISTRICT COURT ERRED WHEN IT DISMISSED
  THE PETITIONERS’ CLAIMS BASED ON COLORADO RIVER
  ABSTENTION WITHOUT IDENTIFYING ANY PARALLEL STATE-
  COURT PROCEEDINGS THAT ADDRESS THE IDENTICAL
  RELIEF SOUGHT.


        The District Court accepted State Respondent’ abstention claim
  arguments based on Colorado River Water Conservation Dist. v. United
  States, 424 U.S. 800, 808 (1976), a case addressing concurrent federal
  and state jurisdiction over water rights. See ECF No. 31 at 19-20.
  Presumably it did so because the case setting the standard for federal
  abstention in the voting rights and state election law context, Harman v.
  Forssenius, 380 U.S. 528, 534, (1965) is not favorable to the
  Respondents.




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        This Court rejected the argument that federal courts should
  dismiss voting rights claims based on federal abstention, emphasizing
  that abstention may be appropriate where “the federal constitutional
  question is dependent upon, or may be materially altered by, the
  determination of an uncertain issue of state law,” and “deference to
  state court adjudication only be made where the issue of state law is
  uncertain.” Harman, 380 U.S. at 534 (citations omitted). But if state
  law in question “is not fairly subject to an interpretation which will
  render unnecessary or substantially modify the federal constitutional
  question,” then “it is the duty of the federal court to exercise its properly
  invoked jurisdiction.” Id. (citation omitted).


        Respondents described several ongoing state proceedings where
  there is some overlap with the claims and specific unlawful conduct
  identified in the Complaint. See ECF No. 31 at 21-26. But State
  Respondents have not identified any uncertain issue of state law that
  would justify abstention. See ECF No 31 at 21-26. Instead, as
  described below, the overlaps involve factual matters and the
  credibility of witnesses, and the finding of these courts would not
  resolve any uncertainty about state law that would impact Petitioners’
  constitutional claims (Electors and Elections Clauses and Equal
  Protection and Due Process Clauses).


        Respondents’ reliance on Colorado River is also misplaced insofar
  as they contend that abstention would avoid “piecemeal” litigation, see
  id. at 38, because abstention would result in exactly that. The various
  Michigan State proceedings raise a number of isolated factual and
  legal issues in separate proceedings, whereas Plaintiffs’ Complaint
  addresses most of the legal claims and factual evidence submitted in
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  Michigan State courts, and also introduces a number of new issues that
  are not present in any of the State proceedings. Accordingly, the
  interest in judicial economy and avoidance of “piecemeal” litigation would
  be best served by retaining jurisdiction over the federal and state law claims.


        Respondents cited to four cases brought in the State courts in
  Michigan, none of which have the same plaintiffs, and all of which are
  ongoing and have not been resolved by final orders or judgments. (See
  ECF Nos. 31-6 to 31-15.)


        The significant differences between this case and the foregoing
  State proceedings would also prevent issue preclusion. A four-element
  framework finds issue preclusion appropriate if: (1) the disputed issue is
  identical to that in the previous action, (2) the issue was actually
  litigated in the previous action, (3) resolution of the issue was necessary
  to support a final judgment in the prior action, and (4) the party against
  whom issue preclusion is sought had a full and fair opportunity to
  litigate the issue in the prior proceeding. See Louisville Bedding Co. v.
  Perfect Fit Indus., 186 F. Supp. 2d 752, 753-754, 2001 U.S. Dist. LEXIS
  9599 (citing Graco Children's Products, Inc. v. Regalo International,
  LLC, 77 F. Supp. 2d 660, 662 (E.D. Pa. 1999). None of these
  requirements have been met with respect to petitioners or the claims in
  the Complaint.


        Of equal importance is the fact that the isolated claims in State
  court do not appear to present evidence demonstrating that a sufficient
  number of illegal ballots were counted to affect the result of the 2020
  General Election. The fact and expert witnesses presented in the
  Complaint do. As summarized below, the Complaint alleges and
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  provides supporting evidence that the number of illegal votes is
  potentially multiples of Biden’s 154,188 margin in Michigan. (See ECF
  No. 6 ¶16).
        $    A report from Russell Ramsland, Jr. showing the “physical
  impossibility” of nearly 385,000 votes injected by four precincts/township
  on November 4, 2020, that resulted in the counting of nearly 290,000
  more ballots processed than available capacity (which is based on
  statistical analysis that is independent of his analysis of Dominion’s
  flaws), a result which he determined to be “physically impossible” (see
  Ex. 104 ¶14).
        %    A report from Dr. Louis Bouchard finding it to be
  “statistically impossible” the widely reported “jump” in Biden’s vote tally
  of 141,257 votes during a single time interval (11:31:48 on November 4),
  see Ex. 110 at 28).
        &   A report from Dr. William Briggs, showing that there were
  approximately 60,000 absentee ballots listed as “unreturned” by voters
  that either never requested them, or that requested and returned
  their ballots. (See Ex. 101).
        '   A report from Dr. Eric Quinell analyzing the anomalous
  turnout figures in Wayne and Oakland Counties showing that Biden
  gained nearly 100% and frequently more than 100% of all “new” voters
  in certain townships/precincts when compared to the 2016 election,
  and thus indicates that nearly 87,000 anomalous and likely fraudulent
  votes came from these precincts. (See Ex. 102).
        (   A report from Dr. Stanley Young that looked at the entire
  State of Michigan and identified nine “outlier” counties that had both
  significantly increased turnout in 2020 vs. 2016, almost all of which went
  to Biden totaling over 190,000 suspect “excess” Biden votes (whereas
  turnout in Michigan’s 74 other counties was flat). (See Ex. 110).

          )  A report from Robert Wilgus analyzing the absentee ballot
  data that identified a number of significant anomalies, in particular,
  224,525 absentee ballot applications that were both sent and returned
  on the same day, 288,783 absentee ballots that were sent and
  returned on the same day, and 78,312 that had the same date for all
  (i.e., the absentee application was sent/returned on same day as the
  absentee ballot itself was sent/returned), as well as an additional
  217,271 ballots for which there was no return date (i.e., consistent with
  eyewitness testimony described in Section II below). (See Ex. 110).

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        *   A report from Thomas Davis showing that in 2020 for larger
  Michigan counties like Monroe and Oakland Counties, that not only was
  there a higher percentage of Democrat than Republican absentee voters
  in every single one of hundreds of precincts, but that the Democrat
  advantage (i.e., the difference in the percentage of Democrat vs.
  Republican absentee voter) was consistent (+25%-30%) and the
  differences were highly correlated, whereas in 2016 the differences were
  uncorrelated. (See Ex. 110).

        +   A report by an affiant whose name must be redacted to
  protect his safety concludes that “the results of the analysis and the
  pattern seen in the included graph strongly suggest a systemic, system-
  wide algorithm was enacted by an outside agent, causing the results of
  Michigan’s vote tallies to be inflated by somewhere between three and
  five-point six percentage points. Statistical estimating yields that in
  Michigan, the best estimate of the number of impacted votes is 162,400.
  However, a 95% confidence interval calculation yields that as many as
  276,080 votes may have been impacted.” (See Ex. 111 ¶13).

      ,9THE DISTRICT COURT ERRED WHEN IT HELD THAT
  PETITIONERS, WHO ARE CANDIDATES FOR THE OFFICE OF
  PRESIDENTIAL ELECTOR, LACKED STANDING TO PURSUE
  THEIR EQUAL PROTECTION AND OTHER CLAIMS

        Petitioners are not simply voters seeking to vindicate their rights
  to an equal and undiluted vote, as guaranteed by Michigan law and
  the Equal Protection Clause of the U.S. Constitution, as construed by
  this court in Reynolds v. Sims, 377 U.S. 533 (1964) and its progeny.
  Rather, Petitioners are candidates for public office. Having been
  selected by the Republican Party of Michigan at its 2019 Fall
  convention, and their names having been certified as such to the
  Michigan Secretary of States pursuant to Michigan Election Law
  168.42, they were nominated to the office of Presidential Electors in
  the November 2020 election pursuant to MCL § 168.43. Election to
  this office is limited to individuals who have been citizens of the
  United States for 10 years, and registered voters of the district (or the

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      state) for at least 1 year, and carries specific responsibilities defined
      by law, namely voting in the Electoral College for President and Vice-
      President. MCL §168.47. While their names do not appear on the
      ballot, Michigan Law makes it clear that the votes cast by voters in
      the presidential election are actually votes for the presidential electors
      nominated by the party of the presidential candidate listed on the
      ballot. MCL § 168.45.2

           The standing of Presidential Electors to challenge fraud,
      illegality and disenfranchisement in a presidential election rests on a
      constitutional and statutory foundation—as if they are candidates, not
      voters.3 Theirs is not a generalized grievance shared by all other
      voters; they are particularly aggrieved by being wrongly denied the
      responsibility, emoluments and honor of serving as members of the
      Electoral College, as provided by Michigan law. Petitioners have the
      requisite legal standing, and the district court must be reversed on
      this point. As in the Eighth Circuit case of Carson v. Simon, 978 F.3d
      1051 (8th Cir. 2020),“[b]ecause Minnesota law plainly treats
      presidential electors as candidates, we do, too.” Id. at 1057. And this
      Court’s opinion in Bush v. Gore, 531 U.S. 98 (2000) (failure to set
      state-wide standards for recount of votes for presidential electors
      violated federal Equal Protection), leaves no doubt that presidential
      candidates have standing to raise post-election challenges to the

                             
  2 This section provides: “ Marking a cross (X) or a check mark ( ) in the circle under
  the party name of a political party, at the general November election in a presidential
  year, shall not be considered and taken as a direct vote for the candidates of that
  political party for president and vice-president or either of them, but, as to the
  presidential vote, as a vote for the entire list or set of presidential electors chosen by
  that political party and certified to the secretary of state pursuant to this chapter.”
  3 See https://sos.ga.gov/index.php/Elections/voter_registration_statistics, last visited

  November 5, 2020.
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      manner in which votes are tabulated and counted. The district court
      therefore clearly erred in concluding that Petitioners lack standing to
      raise this post-election challenge to the manner in which the vote for
      their election for public office was conducted.
  
            There is further support for Petitioners’ standing in the Court’s
      recent decision in Carney v. Adams involving a challenge to the
      Delaware requirement that you had to be a member of a major
      political party to apply for appointment as a judge. In Adams, the
      Court reiterated the standard doctrine about generalized grievance
      not being sufficient to confer standing and held that Adams didn’t
      have standing because he "has not shown that he was 'able and
      ready' to apply for a judicial vacancy in the imminent future". In this
      case, however, Petitioners were not only “able and ready” to serve as
      presidential electors, they were nominated to that office in
      accordance with Michigan law.


            The Respondents have presented compelling evidence that
      Respondents not only failed to administer the November 3, 2020 election
      in compliance with the manner prescribed by the Michigan Legislature
      in the Michigan Election Code, MCL §§ 168.730-738, but that
      Respondents executed a scheme and artifice to fraudulently and illegally
      manipulate the vote count to ensure the election of Joe Biden as
      President of the United States. This conduct violated Petitioners’ equal
      protection and due process rights, as well their rights under the
      Michigan Election Code and Constitution. See generally MCL §§ 168.730-
      738 & Mich. Const. 1963, art. 2, §4(1).




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        In considering Petitioners’ constitutional and voting rights claims
  under a “totality of the circumstances” standard, this Court must consider
  the cumulative effect of the specific instances or categories of
  Respondents’ voter dilution and disenfranchisement claims. Taken
  together, these various forms of unlawful and unconstitutional
  conduct destroyed or shifted tens or hundreds of thousands of Trump
  votes, and illegally added tens or hundreds of thousands of Biden votes,
  changing the result of the election, and effectively disenfranchising
  the majority of Michigan voters. If such errors are not address we
  may be in a similar situation as Kenya, where voting has been
  viewed as not simply irregular but a complete sham. (Coram:
  Maraga, CJ & P, Mwilu, DCJ & V-P, Ojwang, Wanjala, Njoki and
  Lenaola, SCJJ)


                                CONCLUSION


        WHEREFORE, the Petitioners respectfully request this Honorable
  Court enter an emergency order instructing Respondents to de-certify
  the results of the General Election for the Office of the President,
  pending disposition of the forthcoming Petition for Certiorari.
  Alternatively, Petitioners seek an order instructing the Respondents to
  certify the results of the General Election for Office of the President in
  favor of President Donald Trump.


        Petitioners seek an emergency order prohibiting Respondents from
  including in any certified results from the General Election the
  tabulation of absentee and mailing ballots which do not comply with the
  Michigan Election Code, including the tabulation of absentee and mail-
  in ballots Trump Campaign’s watchers were prevented from observing

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  or based on the tabulation of invalidly cast absentee and mail-in ballots
  which (i) lack a secrecy envelope, or contain on that envelope any text,
  mark, or symbol which reveals the elector’s identity, political affiliation,
  or candidate preference, (ii) do not include on the outside envelope a
  completed declaration that is dated and signed by the elector, (iii) are
  delivered in-person by third parties for non-disabled voters, or (iv) any of
  the other Michigan Election Code violations set forth in Section II of the
  petition.
        Petitioners respectfully request an order of preservation and
  production of all registration data, ballots, envelopes, voting machines
  necessary for a final resolution of this dispute.
  Respectfully submitted,

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  Date: December 10, 2020


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                           CERTIFICATE OF COMPLIANCE
  
       The attached Writ of Certiorari complies with the type-volume limitation. As
  required by Supreme Court Rule 33.1(h), I certify that the document contains 8,324
  words, excluding the parts of the document that are exempted by Supreme Court
  Rule 33.1(d).

                                 Respectfully submitted,



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  Date: December 11, 2020




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                                       CASE NO.


                 IN THE SUPREME COURT OF THE UNITED STATES


       TIMOTHY KING, MARIAN ELLEN SHERIDAN, JOHN EARL HAGGARD,
      CHARLES JAMES RITCHARD, JAMES DAVID HOOPER and DAREN WADE
                               RUBINGH,

                                   Plaintiffs/Petitioners,

                                         v.

       GRETCHEN WHITMER, in her official capacity as Governor of the State of
      Michigan, JOCELYN BENSON, in her official capacity as Michigan Secretary of
                            State and the Michigan
                        BOARD OF STATE CANVASSERS

                                   Defendants/Respondents,

                                         and

      CITY OF DETROIT, DEMOCRATIC NATIONAL COMMITTEE and MICHIGAN
                   DEMOCRATIC PARTY, and ROBERT DAVIS,

                             Intervenor-Defendants/Respondents.


                                 PROOF OF SERVICE

  STATE OF MICHIGAN)
                    )ss
  COUNTY OF WAYNE )

          STEFANIE LAMBERT JUNTTILA, affirms, deposes and states that on the

  11th day of December, 2020, she did cause to be served the following:




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Case 2:20-cv-13134-LVP-RSW ECF No. 164-9, PageID.6481 Filed 07/28/21 Page 49 of 50



        1. PETITION FOR WRIT OF CERTIORARI On Petition for a Writ of
  Certiorari to the United States Federal District Court for the Eastern District of
  Michigan;
        2. Attached Exhibits;
        3. Certificate of Conformity;
        4. Proof of Service

  UPON:

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  By email and by placing said copies in a properly addressed envelope with sufficient

  postage fully prepaid, and placing in a U.S. Mail Receptacle.


  FURTHER AFFIANT SAYETH NOT.


  /s/ Stefanie Lambert Junttila
  STEFANIE LAMBERT JUNTTILA

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